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11   Counsel for Michael Lacey and James Larkin

12                     IN THE UNITED STATES DISTRICT COURT
13                            FOR THE DISTRICT OF ARIZONA
14
     United States of America,                No. CR-18-422-PHX-SMB
15
                              Plaintiff,      UNOPPOSED MOTION TO
16                                            EXTEND DEADLINE FOR REPLY
        v.                                    TO RESPONSE TO DEFENDANTS’
17
                                              MOTION TO DISMISS INDICTMENT
     Michael Lacey, et al.,
18

19                            Defendants.

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1           Defendants Michael Lacey, James Larkin, John Brunst and Scott Spear, by and
2    through their undersigned attorneys, respectfully move the Court to extend the dead-
3    line for replying to the Government’s Response to Motion to Dismiss Indictment for
4    two-weeks, until July 3, 2019. On May 3, 2019, Defendants Michael Lacy, James
5    Larkin, John Brunst, and Scott Spear filed a Motion to Dismiss Indictment (Doc. 561).
6    The Government moved to extend the time to respond to the Motion to Dismiss until
7    June 12, 2019, which request was granted. (Doc. 618) The reason for the govern-
8    ment’s request was the anticipated filing of amicus briefs supporting Defendants. In
9    its unopposed request, the government indicated it would not oppose a corresponding
10   extension for Defendants’ reply. (Doc. 612).
11          Defendants hereby request a two-week extension of time, and the government
12   has indicated it is not opposed to this motion. In the past week, however, Defendants
13   have been advised counsel for Equality Now and Legal Momentum have expressed
14   an intention to file an amicus brief supporting the government, and counsel for those
15   groups have entered appearances in the case. Defendants have not been advised of
16   when that filing might take place. When that amicus brief is filed, it may be necessary
17   for Defendants to seek a further adjustment of the reply deadline, and possible of the
18   page limit, and will confer with parties at that time.
19          Therefore, Defendants request that the Court extend the time for their reply to
20   the response to the Motion to Dismiss indictment until July 3, 2019.
21          DATED this 19th day of June, 2019.
22                                       DAVIS WRIGHT TREMAINE LLP
                                         s/ James C. Grant
23
                                         s/ Robert L. Corn-Revere
24                                       Attorneys for Michael Lacey and James Larkin

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1    Pursuant to the District’s Electronic Case Filing Administrative Policies and
     Procedures Manual (May 2018) § II(C)(3), James C. Grant hereby attests that
2
     all other signatories listed, and on whose behalf this filing is submitted, concur
3    in the filing’s content and have authorized its filing.

4                                       s/ Paul J. Cambria, Jr.
                                        LIPSITZ GREEN SCIME CAMBRIA LLP
5
                                        Attorneys for Michael Lacey
6
                                        s/ Thomas H. Bienert, Jr.
7                                       BIENERT KATZMAN, PLC
8                                       Attorneys for James Larkin

9                                       s/ Ariel A. Neuman
                                        BIRD MARELLA BOXER WOLPERT NESSIM
10
                                        DROOKS LINCENBERG AND RHOW
11                                      Attorneys for John Brunst

12                                      s/ Bruce Feder
13                                      FEDER LAW OFFICE PA
                                        Attorney for Scott Spear
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1                               CERTIFICATE OF SERVICE
2          I hereby certify that on June 19, 2019, a true and correct copy of the foregoing
3    document was electronically filed with the Clerk of the United States District Court of
4    the District of Arizona by using the CM/ECF system, and that service will be
5    accomplished by the CM/ECF system to all counsel of record.
6
                                       s/ James C. Grant
7                                      Attorney for Michael Lacey and James Larkin
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